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                      IN THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION


IN RE:                                                     Case No.: 24-12395-PDR
Pompano Property Solutions, LLC                            Chapter 7
                                                           Judge: Peter D. Russin
                 Debtor(s).                     /



                      MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW Wilmington Savings Fund Society, FSB, not in its individual capacity,

but solely as Trustee for IOF III Trust 7A, hereinafter referred to as “Movant”, seeking

modification of the automatic stay in this case in order to exercise any and all rights Movant may

have in the collateral described below, or in the alternative, adequate protection, and for cause

would show the Court as follows:

         1.      On March 13 2024, Pompano Property Solutions, LLC (hereinafter referred to as

         “Debtor”), filed for relief under Chapter 7 of the Bankruptcy Code.

         2.      Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C.

         §1334, 11 U.S.C. §362 and all other applicable rules and statues affecting jurisdiction of

         the Bankruptcy Courts generally.

         3.      Carmen Ana Cornelio executed a Note and Mortgage (hereinafter referred to as

         “Agreement”) in the principal amount of $812,500.00, together with interest thereon as

         set forth therein.

         4.      Funds were advanced in connection with the aforementioned agreement as

         purchase money for the following real property (the “Subject Property”):

         ALL THAT CERTAIN PROPERTY LOCATED AT 3405 ROBBINS ROAD,
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POMPANO BEACH, FLORIDA 33062 AND MORE ACCURATELY DESCRIBED
BY ITS LEGAL DESCRIPTION WHICH IS:




5.     The Mortgage provides Movant a lien on the Subject Property located in Broward

County, Florida.

6.     The terms of the aforementioned Agreement entitle Movant to possession of the

collateral upon Default. The Movant has declared the Debtor in Default.

7.     On July 13, 2023, a foreclosure action was filed in the case WILMINGTON

SAVINGS FUND SOCIETY, FSB v. Carmen Ana Cornelio, Case Number

CACE23015651 (Broward County Circuit Court), a copy is attached hereto as Exhibit

“A”.

8.     On January 9, 2024, the Circuit Court entered a Final Judgment in Foreclosure.

The total amount due on the Final Judgment of Foreclosure was $878,655.29. A copy of

the Final Judgment of Foreclosure is attached as exhibit “B”.

9.     Debtor has defaulted under the terms of the Agreement for failing to make the

payments as required under the Agreement.

10.    According to Broward County Property Appraiser, the property value is estimated

at $1,007,500.00.

11.    Based upon the Debtor's schedules, the property is claimed as non-exempt. The

Trustee has not abandoned the property.

12.    Movant's security interest in the subject property is being significantly

jeopardized by Debtor's failure to comply with the terms of the subject loan documents

while Movant is prohibited from pursuing lawful remedies to protect such interest.

Movant has no protection against the erosion of its collateral position and no other form
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of adequate protection is provided.

13.    If Movant is not permitted to enforce its security interest in the collateral or be

provided with adequate protection, it will suffer irreparable injury, loss, and damage.

14.    Movant requests that all communications sent by Movant in connection with

proceeding against the property including, but not limited to, notices required by state

law and communications to offer and provide information with regard to potential

Forbearance Agreement, Loan Modification, Refinance Agreement, Loss Mitigation

Agreement or other Loan Workout, may be sent directly to the Debtor.

15.    Movant further requests this Court grant it relief from the Automatic Stay in the

case pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

adequate protection to Movant for its interest in the above stated collateral. The value of

the collateral is insufficient in and of itself to be provided to the Movant. Movant

additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

Debtor's assets.

16.    NewRez LLC dba Shellpoint Mortgage Servicing services the underlying

mortgage loan and note for the property referenced in this motion for Movant. In the

event the automatic stay in this case is modified, this case dismisses, and/or the Debtor

obtains a discharge and a foreclosure action is commenced on the mortgaged property,

the foreclosure will be conducted in the name of Movant. Movant, directly or through an

agent, has possession of the Note. The Note Allonge is endorsed in blank. Movant is the

beneficiary or the assignee of the Deed of Trust.

17.    Movant will incur court costs in the amount of $199.00 and attorney's fees in the
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       amount of $950.00 in this proceeding and will incur additional fees, costs and expenses

       in foreclosing the Mortgage and in preserving and protecting the property, all of which

       additional sums are secured by the lien of the Mortgage. Movant seeks an award of its

       reasonable attorneys' fees and costs, or alternatively, leave to seek recovery of its

       reasonable attorneys' fees and costs in any pending or subsequent foreclosure proceeding.

       18.     Movant requests that should the Debtor convert this case to another chapter that

       relief awarded will survive any conversion made by the Debtor and will not be allowed to

       include the creditor in the Chapter 13 plan.

       19.     As of October 17, 2024, the unpaid principal balance owed is in the amount of

       $811,758.70 with additional funds owed by Debtor of $27,107.63. As of October 17,

       2024, the total payoff amount is $1,001,766.69.

       20.     A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

       WHEREFORE,         Movant prays this Honorable Court enter an order modifying the

automatic stay under 11 U.S.C. §362(d) to permit Movant to take any and all steps necessary to

exercise any and all rights it may have in the collateral described herein, to gain possession of

said collateral, to waive the 14-day stay imposed to Fed.R.Bankr.P. 4001(a)(3), to seek recovery

of its reasonable attorneys' fees and costs incurred in this proceeding, and to any such further

relief as this Honorable Court deems just and proper.



       DATED this the 14th day of November 2024.

                                             Respectfully submitted,

                                             /S/ Seth J. Greenhill
                                             SETH J. GREENHILL, ESQ.
                                             Florida Bar # 97938
                                             PADGETT LAW GROUP
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                       Tallahassee, FL 32312
                       (850) 422-2520 (telephone)
                       (850) 422-2567 (facsimile)
                       Seth.Greenhill@padgettlawgroup.com
                       Attorney for Creditor
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

to the parties on the attached Service List by electronic notice and/or by First Class U.S. Mail on

this the 14th day of November 2024:



                                             /S/ Seth J. Greenhill
                                             SETH J. GREENHILL, ESQ.
                                             Florida Bar # 97938
                                             PADGETT LAW GROUP
                                             6267 Old Water Oak Road, Suite 203
                                             Tallahassee, FL 32312
                                             (850) 422-2520 (telephone)
                                             (850) 422-2567 (facsimile)
                                             Seth.Greenhill@padgettlawgroup.com
                                             Attorney for Creditor
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                           SERVICE LIST (CASE NO. 24-12395-PDR)

Via First Class U.S. Mail:

Debtor
Pompano Property Solutions, LLC
3405 Robbins Rd
Pompano Beach, FL 33062

Non-filing Borrower
Carmen Ana Cornelio
3405 Robbins Road
Pompano Beach, Florida 33062

Via ECF

Attorney for Debtor
Christina A Fiallo
8000 Governors Square Blvd., Ste. 402
Miami Lakes, FL 33016

Trustee
Sonya Salkin Slott
PO Box 15580
Plantation, FL 33318

U.S. Trustee
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
Exhibit A
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Exhibit C             Case 24-12395-PDR           Doc 61     Filed 11/14/24      Page 18 of 19




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                      FORT LAUDERDALE DIVISION


        IN RE:                                                       Case No.: 24-12395-PDR
        Pompano Property Solutions, LLC                              Chapter 7


                        Debtor(s).                       /



                                      ORDER GRANTING MOTION FOR
                                      RELIEF FROM AUTOMATIC STAY

                 This case came before the Court upon the Motion for Relief from Automatic Stay [D.E. ]

        filed by Creditor, Wilmington Savings Fund Society, FSB, not in its individual capacity, but solely

        as Trustee for IOF III Trust 7A, hereinafter referred to as “Movant” and the movant by submitting

        this form of order having represented that the motion was served on all parties required by Local

        Rule 4001-1, that the 14-day response time provided by that rule has expired, that no one has filed,

        or served on the movant, a response to the motion, and that [either] the form of order was attached

        as an exhibit to the motion [or] the relief to be granted in this order is the identical relief requested

        in the motion.. The Court, having considered said Motion. Accordingly, it is
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ORDERED:

       1.     The Motion for Relief from the Automatic Stay is GRANTED.

       2.     The automatic stay imposed by 11 U.S.C. §362 is lifted as to Movant, and it may

              proceed with foreclosure of its security interest upon the following property:

              ALL THAT CERTAIN PROPERTY LOCATED AT 3405 ROBBINS ROAD,
              POMPANO BEACH, FLORIDA 33062.

       3.     Attorney fees in the amount of $750.00 and Attorney Costs in the amount of

              $199.00 are recoverable

       4.     This order is entered for the sole purpose of allowing Movant to obtain an in rem

              judgment against the property and Movant shall not seek an in personam

              judgment against the Debtor.



                                              ###

Order Prepared By:
Seth Greenhill, Esq.
Padgett Law Group
6267 Old Water Oak Rd., Ste. 203
Tallahassee, FL 32312
Seth.Greenhill@padgettlawgroup.com

Attorney Seth Greenhill is directed to serve a copy of this order on interested parties and
file a proof of service within 3 days of entry of the order.
